                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                    KNOXVILLE DIVISION

    ISABEL ZELAYA, et al.,

           Plaintiffs,                                        No. 3:19-cv-00062-TRM-CHS

    v.                                                        CLASS ACTION

    ROBERT HAMMER, et al.,                                    JURY DEMANDED

           Defendants.


                               JOINT MOTION TO EXTEND STAY


          On August 31, 2022, the Court entered an order staying all matters in this case through

   September 9, 2022, to allow the parties sufficient time to finalize a settlement agreement. (Doc.

   770.) Since the parties reached a settlement in principle on August 23, 2022, Defendants have

   been working diligently to obtain the necessary approval from the multiple parties and agencies

   that must review and finalize an agreement. Given the complexity of this case and the need for

   Plaintiffs to review and agree to language before an agreement can be presented to the Court for

   preliminary approval of the class settlement, counsel for the parties have conferred and jointly

   request that the Court extend the stay for ten days, until September 19, 2022.




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   Respectfully submitted,

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